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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF TEXAS

In re: Tuesday Morning Corporation Case No. 20-31476
NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE. Transferee hereby gives evidence and notice

pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the
claim referenced in this evidence and notice.

 

 

 

 

 

Bradford Capital Holdings, LP Marcus Adler Glove Co.
Name of Transferee Name of Transferor
Name and address where transferee payments Scheduled Claim Number: 482009340
should be sent: Scheduled Claim Amount: $79,000.00
c/o Bradford Capital Management, LLC Proof of Claim Number: 156
PO Box 4353 Proof of Claim Amount: $79,000.00
Clifton, NJ 07012
Attn: Brian Brager
Phone: 862-249-1349
Email: bbrager@bradfordcapitalmgmt.com
|

 

 

I declare under penalty of perjury that the information provided in this notice is true and correct
to the best of my knowledge and belief.

Bradford Capital Holdings, LP
By: Bradford Capital GP, LLC, its General Partner

By: /s/ Brian Brager Date: 09/15/2020
Transferee/Transferee’s Agent

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C.
§§ 152 & 3571
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EVIDENCE OF TRANSFER OF CLAIM

AnnexB
TO: United States Bankruptcy Court (“Court”)
Northern District of Texas
Attn: Clerk
AND TO: TUESDAY MORNING PARTNERS, LTD. (“Debtor”)

 

Case No. 20-31482 (“Case”)

 

Claim #: N/A (SCHEDULE #: 482009340 &3.514)

MARCUS ADLER GLOVE CO (‘Seller’), for good and valuable consideration the receiptand sufficiency of whichis hereby
acknowledged, does hereby unconditionally and irrevocably sell, transfer and assign unto:

 

BRADFORD CAPITAL HOLDINGS, LP
P.O. Box 4353

Clifton, NJ 07012

Attn: Brian L. Brager

its successors and assigns ("Buyer"), all rights, title and interest in and to the claim of Seller, including all rights: (a) of
reclamation and all administrative priority claims, and any cure payments made on accountof Seller inthe Case; (b) to any
proof(s) of claim filed; (c) in and to any secured claim, collateral or any liens held by Seller; (d) to vote on any question
relating to the claim in the Case; (e) to cash, interest, principal, securities or other property in connection with the Case: and
(f) to any amounts listed on the Debtor's schedules, in the principal amountof $79,000.00

(“Claim”), which represents _100_% of the total claim amount of $79,000.00, against the Debtor in the Court, or any other
court with jurisdiction over the Debtor's Case.

 

Seller hereby waives any objection to the transfer of the Claim to Buyer on the books and records of the Debtor and the
Court, and hereby waives to the fullest extent permitted by law any notice or right to a hearing as may be imposed by Rule
3001 of the Federal Rules of Bankruptcy Procedure, the Bankruptcy Code, applicable local bankruptcy rules or applicable
law. Seller acknowledges, understands, agrees, and hereby stipulates that an order of the Court may be entered without
further notice to Seller transferring the Claim to Buyer and recognizing the Buyer as the sole ownerand holder of the Claim.

Buyer doesnot assume and shall not be responsible for any obligations of liabilities of Seller related to or in connection with
the Claim orthe Case. You are hereby directed to make all future payments and distributions free and clear of all setoffs and
deductions, and to give all notices and other communications, in respect of the Claim to Buyer.

IN WITNESS WHEREOF, each of the undersigned have duly executed this Evidence of Transfer of Claim by their duly
authorized representative dated September_9__, 2020.

 
 

 

 

MARCUS ADLER GLOVE CO BRADFORD CAPITAL HOLDINGS, LP
DocuSigned by:
Andrew a anaen don Brian roar
By: Zinaman aus vee ” By: 858F5F65960341E...
Name: Andrew Zinaman Name: Brian Brager
Title: President Title: Managing Member
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EVIDENCE OF TRANSFER OF CLAIM

AnnexB
TO: United States Bankruptcy Court (“Court”)
Northern District of Texas
Attn: Clerk
AND TO: TUESDAY MORNING CORPORATION (“Debtor”)

 

Case No. 20-31476 (“Case”)

 

Claim #: 156

 

MARCUS ADLER GLOVE CO (‘Seller’), for good and valuable consideration the receiptand sufficiency of whichis hereby
acknowledged, does hereby unconditionally and irrevocably sell, transfer and assign unto:

 

BRADFORD CAPITAL HOLDINGS, LP
P.O. Box 4353

Clifton, NJ 07012

Attn: Brian L. Brager

its successors and assigns ("Buyer"), all rights, title and interest in and to the claim of Seller, including all rights: (a) of
reclamation and all administrative priority claims, and any cure payments made on accountof Seller in the Case; (b) to any
proof(s) of claim filed; (c) in and to any secured claim, collateral or any liens held by Seller; (d) to vote on any question
relating to the claim in the Case; (e) to cash, interest, principal, securities or other property in connection with the Case: and
(f) to any amounts listed on the Debtor's schedules, in the principal amountof $79,000.00

(“Claim”), which represents 400 % of the total claim amount of $79,000.00, against the Debtor in the Court, or any other
court with jurisdiction over the Debtor's Case.

Seller hereby waives any objection to the transfer of the Claim to Buyer on the books and records of the Debtor and the
Court, and hereby waives to the fullest extent permitted by law any notice or right to a hearing as may be im posed by Rule
3001 of the Federal Rules of Bankruptcy Procedure, the Bankruptcy Code, applicable local bankruptcy rules or applicable
law. Seller acknowledges, understands, agrees, and hereby stipulates that an order of the Court may be entered without
further notice to Seller transferring the Claim to Buyer and recognizing the Buyer as the sole owner and holder of the Claim.

Buyer does not assume and shall not be responsible for any obligations of liabilities of Seller related to or in connection with
the Claim orthe Case. You are hereby directed to make all future payments and distributions free and clear of all setoffs and
deductions, and to give all notices and other communications, in respectof the Claim to Buyer.

IN WITNESS WHEREOF, each of the undersigned have duly executed this Evidence of Transfer of Claim by their duly
authorized representative dated September 9 ,2020.

 

 

MARCUS ADLER GLOVE CO BRADFORD CAPITAL HOLDINGS, LP
Andrew Sao
By; __Zinaman Sense sass acen By:
Name. Andrew Zinaman Name: Brian Brager
Title: President Title: Managing Member
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